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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 KNIGHT CAPITAL PARTNERS CORPORATION,
 a Michigan Corporation,
                                  Case No. 2:16-cv-12022-DML-APP
        Plaintiff,                Hon. David M. Lawson

 v.

 HENKEL AG & COMPANY, KGaA,
 a German partnership limited by shares,

              Defendant.
 ________________________________________________________________/
 KICKHAM HANLEY PLLC                            KIRKLAND & ELLIS LLP
 GREGORY D. HANLEY (P51204)                     ATIF KHAWAJA (NY BAR 4156170)
 JAMIE WARROW (P61521)                          SHIREEN BARDAY (NY BAR 4657359)
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      PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE EVIDENCE REGARDING
                PLAINTIFF’S PRINCIPAL’S 2012 FINRA MATTER

       Plaintiff Knight Capital Partners Corporation (“KCP”) brings this motion for

 in limine pursuant to Fed. R. Evid. 401, Fed. R. Evid. 403, Fed. R. Evid. 404, Fed. R.

 Evid. 608 as well as the facts and law stated in KCP’s brief in support of this motion,

 which KCP relies upon and incorporates herein.

       Pursuant to LR 7.1 KCP states that the relief requested pursuant to this motion

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 has been the subject of email communication between counsel and a telephone

 conference held on August 17, 2018. No concurrence has been obtained in the

 motion despite KCP’s reasonable and good faith efforts to obtain such concurrence.

            Based upon the facts and law stated in KCP’s brief in support of this motion,

 which KCP relies upon and incorporates herein, KCP requests that the Court grant

 KCP’s Motion in Limine and exclude evidence regarding Mr. Nona’s 2012 FINRA

 disciplinary matter.


                                                   Respectfully submitted,
                                                   KICKHAM HANLEY PLLC
                                                   /s/ Jamie Warrow
                                                   Jamie Warrow (P61521)
                                                   Attorneys for Knight Capital Partners
 Dated: August 28, 2018                            jwarrow@kickhamhanley.com




                               CERTIFICATE OF SERVICE

            I hereby certify that on August 28, 2018, I electronically filed the foregoing
 document with the Clerk of the Court using the ECF system which will send
 notification of such filing to all ECF filing Participants.


                                                   /s/ Jamie Warrow
                                                   Jamie Warrow
 KH155938




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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 KNIGHT CAPITAL PARTNERS CORPORATION,
 a Michigan Corporation,
                                  Case No. 2:16-cv-12022-DML-APP
        Plaintiff,                Hon. David M. Lawson

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  BRIEF IN SUPPORT OF PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE EVIDENCE
           REGARDING PLAINTIFF’S PRINCIPAL’S 2012 FINRA MATTER




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                         STATEMENT OF ISSUES PRESENTED

       Should this Court grant Plaintiff ’s motion in limine and exclude evidence related

 to Plaintiff ’s principal’s 2012 a Financial Industry Regulatory Authority (“FINRA”)

 disciplinary matter under circumstances where the information sought by Defendant

 is not relevant to any claim or defense, is not important to resolving any issue in this

 case, and thus, is not admissible pursuant to FRE 401?

              Plaintiff states: Yes.

              Defendant states: No.

              The Court should state: Yes.



       Should this Court grant Plaintiff ’s motion in limine and exclude evidence related

 to Plaintiff ’s principal’s 2012 FINRA disciplinary matter pursuant to F.R.E. 403,

 F.R.E. 404(b) and F.R.E. 608 under circumstances where the evidence is highly and

 unfairly prejudicial, will have the tendency to confuse the issues, and will have the

 tendency to mislead the jury?

              Plaintiff states: Yes.

              Defendant states: No.

              The Court should state: Yes.




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                                     STATEMENT OF CONTROLLING AUTHORITY

             Plaintiff relies upon Fed. R. Evid. 401, Fed. R. Evid. 403, Fed. R. Evid. 404,

 Fed. R. Evid. 608 as the controlling authority for this motion. Plaintiff also relies

 upon the following authorities in support of its motion:

                                                         INDEX OF AUTHORITIES

 Cases
 Battle v. O'Shaughnessy, 2012 U.S. Dist. LEXIS 143471 .......................................................................... 9, 17
 Deitchman v. Bear Stearns Sec. Corp., 2007 U.S. Dist. LEXIS 94796 (S.D. Fla. Dec. 28, 2007) ................. 3
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 Palmer v. Allen, No. 14-cv-12247, 2017 U.S. Dist. LEXIS 7336 (E.D. Mich. Jan. 19, 2017)................... 5
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     I.     INTRODUCTION

          Defendant, Henkel AG & CO., KGaA (“Henkel KGaA”) cannot provide

 substantive defenses to the tortious interference and breach of contract claims stated

 in KCP’s complaint.1 Henkel KGaA cannot reasonably deny that its representative,

 Cedric Berthod, interfered with KCP’s business relationship and expectancy with its

 subsidiary, Henkel Corporation—because the evidence ascertained demonstrates that

 Berthod unequivocally did. See e.g. R. 75-2, Transcript of the June 5, 2015 telephone

 conversation between Cedric Berthod and Fadi Nona.

          Henkel KGaA also cannot reasonably deny that, using KCP’s confidential

 information, it both: (a) pursued a direct deal with the technology owner, AI Sealing;

 and simultaneously (b) pursued the development of the refinery cleaning technology

 internally in order to subvert KCP’s significant financial interests in the distribution

 deal. See e.g. R. 75-3, Email dated July 23, 2015 documenting weekly conference calls

 between AI Sealing representatives and Henkel KGaA representatives; R. 139-32,

 Henkel Corp 00004578 (correspondence wherein Cedric Berthod acknowledges that

 the “AIS project is somehow on hold” and “it was agreed to pursue an internal route”

 regarding the “refinery project”). In fact, the evidence in this matter shows that

 Henkel KGaA’s internal work on the oil refinery cleaning technology project did not


 1
        Nor will it be able to substantively defend the potential claim KCP seeks to
 assert in its proposed amended complaint under Connecticut’s Unfair Trade Practices
 Act (“CUTPA”).

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 wind down until early 2016. See e.g. R. 139-6, Henkel KGaA 00037488.

       Henkel KGaA also cannot state in good faith that it honored the nondisclosure

 agreement between KCP and Henkel Corporation, which Henkel KGaA was bound

 by as an affiliate of Henkel Corporation. Again, the evidence demonstrates that

 Henkel KGaA necessarily breached this agreement in order to simultaneously pursue

 both a direct deal with AI Sealing and develop the technology internally.

       Instead of offering any substantive defenses to Plaintiff’s claims, Henkel KGaA

 has concocted “defenses” that attack the character of KCP’s principals. With specific

 regard to KCP’s principal Fadi Nona, Henkel KGaA attempts to defend its own

 wrongful conduct by asserting that “Mr. Nona made a series of misrepresentations

 about himself” which would have “precluded” KCP “from ever being a business

 partner with Henkel Corporation or Henkel KGaA.”2 See e.g. R. 74 Pg. ID 2695.

 These purported misrepresentations all stem from a Financial Industry Regulatory

 Authority (“FINRA”) disciplinary action and resulting Letter of Acceptance, Waiver

 and Consent (“AWC”) entered into by Mr. Nona in 2012, long before KCP ever

 became involved with Henkel KGaA.

       It is anticipated that, at trial, Henkel KGaA will seek to introduce evidence of

 Mr. Nona’s purported violations of various FINRA rules arising from a formal


 2     Henkel qualified its assertion that the “series” of (purported)
 misrepresentations made by Mr. Nona are in fact speculative “potential
 misrepresentations.” R. 74, Pg. ID 2695.

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 complaint made in 2010 by one of Mr. Nona’s former clients and involving events

 that happened 14 years ago, in 2004. Mr. Nona’s conduct is described in the AWC

 (R. 108, Pg. ID. 4282 et seq.) which was signed by Mr. Nona in settlement of the

 allegations made by FINRA.

       KCP seeks to exclude introduction of evidence related to the FINRA

 disciplinary action because (a) Mr. Nona’s alleged FINRA rule violation is wholly

 irrelevant as to any substantive claim or defense made in the case; and (b) the

 evidence is unfairly prejudicial; (c) the evidence would cause confusion of the issues,

 and (d) the evidence is intended to unduly and improperly influence the jury.3 Mr.

 Nona’s FINRA disciplinary action, which is simply immaterial as to whether or not

 Henkel KGaA breached the NDA or tortiously interfered with KCP’s business

 expectancy, cannot excuse Henkel KGaA’s illicit conduct and is not a defense to

 KCP’s claims.




 3
        The AWC should also be excluded as evidence based on the policy interest of
 keeping settlement negotiations and offers of compromise confidential. Federal Rule
 of Evidence 408. Here the AWC was the product of settlement negotiations between
 FINRA and Mr. Nona. Allowing the FINRA’s findings in the AWC to be used against
 KCP in this unrelated litigation would discourage these types of settlements. The
 Court should reasonably find that the AWC and testimony related to the FINRA
 disciplinary action are inappropriate forms of evidence based on the same
 considerations motivating Rule 408. See e.g. Deitchman v. Bear Stearns Sec. Corp., 2007
 U.S. Dist. LEXIS 94796, at *13-14 (S.D. Fla. Dec. 28, 2007)(Exhibit 5).


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     II.      MR. NONA’S FINRA DISCIPLINARY ACTION AND THE NATURE,
              EFFECT AND CONTENT OF THE ACCEPTANCE, WAIVER AND CONSENT
           An Acceptance, Waiver and Consent (“AWC”) is a settlement contract

  between FINRA and a respondent designed to resolve allegations of rule violations

  without formal hearing. Indeed, according to FINRA Rule 9216(a)(4), an accepted

  AWC “shall be deemed final and shall constitute the complaint, answer, and

  decision in the matter." North v. Smarsh, Inc., 160 F. Supp.3d 63, 71 n.3 (D.D.C.

  2015)(emphasis added).

           Based upon the instruction of his defense counsel in the FINRA disciplinary

  proceeding, who advised Mr. Nona that it would be an expensive fight against FINRA

  with an “end result [that] would not be fruitful” (R. 108, Pg. ID. 4319) Mr. Nona

  voluntarily signed the AWC (R. 108, Pg. ID. 4288) under its terms, accepting and

  consenting to the entry of FINRA’s findings contained in the AWC, but without

  admitting or denying same. R. 108 Pg. ID. 4282. Once the AWC was accepted by

  FINRA, it became a binding settlement agreement between FINRA and Mr. Nona.

           The AWC provides a detailed factual background describing Mr. Nona’s

  alleged “violative conduct,” identifies the exact FINRA rules alleged to be violated,

  and describes the facts and circumstances supporting FINRA’s allegations. See R. 108

  Pg. ID. 4282—Pg. ID. 4287. Under its terms, however, it cannot be used as evidence

  to prove the allegations contained therein (R. 108 Pg. ID. 4288, ¶ B), and further

  permits Mr. Nona to take inconsistent factual positions in litigation proceedings—


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  such as this one—to which FINRA is not a party. R. 108 Pg. ID. 4288, ¶ C (4).

  Currently, Mr. Nona is seeking to have his license reinstated and has been advised by

  his attorney not to speak further about the events contained in the AWC. R. 108, Pg.

  ID. 4319.

     III.     LEGAL STANDARD FOR MOTION IN LIMINE

        A motion in limine refers to “any motion, whether made before or during trial,

  to exclude anticipated prejudicial evidence before the evidence is actually offered.”

  Luce v. United States, 469 U.S. 38, 40 n.2, 105 S. Ct. 460, 83 L. Ed. 2d 443 (1984). The

  purpose of a motion in limine is to eliminate “evidence that is clearly inadmissible for

  any purpose” before trial. Ind. Ins. Co. v. GE, 326 F. Supp. 2d 844, 846 (N.D. Ohio

  2004). A district court rules on evidentiary motions in limine “to narrow the issues

  remaining for trial and to minimize disruptions at trial.” United States v. Brawner, 173

  F.3d 966, 970 (6th Cir. 1999). The guiding principle is to “ensure evenhanded and

  expeditious management of trials.” Ind. Ins., 326 F. Supp. 2d at 846. As further

  discussed in Palmer v. Allen, No. 14-cv-12247, 2017 U.S. Dist. LEXIS 7336, at *1-3

  (E.D. Mich. Jan. 19, 2017)(Exhibit 1):

        Although neither the Federal Rules of Evidence, nor the Federal Rules
        of Civil Procedure explicitly authorize a court to rule on an evidentiary
        motion in limine, the Supreme Court has allowed district courts to rule on
        motions in limine “pursuant to the district court's inherent authority to
        manage the course of trials.” See Luce, 469 U.S. at 41 n.4. District courts
        are granted very broad discretion in determining whether the probative
        value of evidence outweighs any danger of unfair prejudice. United States
        v. Vance, 871 F.2d 572, 576 (6th Cir. 1989).


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         A district court should grant a motion to exclude evidence in limine “only
         when [that] evidence is clearly inadmissible on all potential grounds.” Ind.
         Ins., 326 F. Supp. 2d at 846 (emphasis added). In cases where that high
         standard is not met, “evidentiary rulings should be deferred until trial so
         that questions of foundation, relevancy, and potential prejudice may be
         resolved in proper context.” Id. Denial of a motion to exclude evidence
         in limine does not necessarily mean that the court will admit the evidence
         at trial. See Luce, 469 U.S. at 41. “[E]ven if nothing unexpected happens
         at trial, the district judge is free, in the exercise of sound judicial
         discretion, to alter a previous in limine ruling.” Id. at 41-42. [Parker, supra,
         at *2-3, emphasis in original.]

         As further discussed herein, evidence related to Mr. Nona’s FINRA disciplinary

  action is “clearly inadmissible on all potential grounds.” The Court should grant

  Plaintiff’s motion in limine and exclude evidence related to it.

     IV.    THE GOVERNING COURT RULES

     A. Relevant Evidence Under Fed. R. Evid. 401 and Fed. R. Evid. 402

         Evidence is relevant if: “(a) it has any tendency to make a fact more or less

  probable than it would be without the evidence; and (b) the fact is of consequence in

  determining the action.” Fed. R. Evid. 401. Relevant evidence is admissible unless

  any of the following provides otherwise: 1) the United States Constitution; 2) a federal

  statute; 3) these rules; or 4) other rules prescribed by the Supreme Court. Fed. R.

  Evid. 402.

     B. Unfair Prejudice Under Fed. R. Evid. 403

         Federal Rule of Evidence 403 provides that “[t]he court may exclude relevant

  evidence if its probative value is substantially outweighed by a danger of one or more

  of the following: unfair prejudice, confusing the issues, misleading the jury, undue

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  delay, wasting time, or needlessly presenting cumulative evidence.” Spencer v.

  MacDonald, No. 14-cv-13858, 2016 U.S. Dist. LEXIS 58357, at *9 (E.D. Mich. May 3,

  2016)(Exhibit 2); Edgerson v. Matatall, No. 10-14954, 2014 U.S. Dist. LEXIS 4967, at

  *4-7 (E.D. Mich. Jan. 15, 2014)(Exhibit 3).

     C. Admission of Propensity Evidence Under Fed. R. Evid. 404(b)

         “Rule 404(b) bars the admission of ‘propensity evidence,’ defined as ‘[e]vidence

  of a crime, wrong, or other act . . .’ to prove a person’s character in order to show that

  on a particular occasion the person acted in accordance with the character.” Edgerson,

  supra, citing Flagg v. City of Detroit, 715 F.3d 165, 175 (6th Cir. 2013). “However, [Rule

  404(b)] permits the admission of prior ‘bad acts’ for other purposes, ‘such as proving

  motive, opportunity, intent, preparation, plan, knowledge, identity, absence of

  mistake, or lack of accident.’” Id.

         The Rule 404(b) inquiry consists of three parts. “First, the trial court must

  make a preliminary determination as to whether sufficient evidence exists that the

  prior act occurred. Second, the district court must make a determination as whether

  the ‘other act’ is admissible for a proper purpose under Rule 404(b). Third, the district

  court must determine whether the ‘other acts’ evidence is more prejudicial than

  probative under Rule 403.” See Edgerson, supra, at *5-6, citing United States v. Mack, 258

  F.3d 548, 554 (6th Cir. 2001); see also Flagg, 715 F.3d at 176.




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        In United States v. Merriweather, 78 F.3d 1070 (6th Cir. 1996) (discussed at length

  in Edgerson, supra at *6-7) the Sixth Circuit stated the following guidelines for a making

  a Rule 404(b) determination:

        Upon objection…the proponent of the evidence…should be
        required to identify the specific purpose or purposes for which [the
        proponent] offers the evidence of “other crimes, wrongs, or acts.”
        By so requiring, we do not mandate hyper technicality. It is true that
        whether 404(b) evidence is admissible for a particular purpose will
        sometimes be unclear until late in the trial because whether a fact is ‘in
        issue’ often depends on [a party’s] theory and the proofs as they develop.
        Nevertheless, the [proponent’s] purpose in introducing the
        evidence must be to prove a fact that [a party] has placed, or
        conceivably will place, in issue, or a fact that the statutory
        elements obligate the government to prove.
        After requiring the proponent to identify the specific purpose for which
        the evidence is offered, the district court must determine whether the
        identified purpose, whether to prove motive or intent or identity some other
        purpose, is “material;” that is, whether it is “in issue” in the case.
        If the court finds it is, the court must then determine, before admitting
        the other acts evidence, whether the probative value of the evidence is
        substantially outweighed by the danger of unfair prejudice under Rule
        403. If the evidence satisfies Rule 403, then, after receiving the evidence,
        the district court must “clearly, simply, and correctly” instruct the jury as
        to the specific purpose for which they may consider the evidence.
        [Merriweather at 1076-77 (internal citation omitted; emphasis added)].

  See also United States v. Ellisor, 522 F.3d 1255, 1267 (11th Cir. 2008)(Rule 404(b)

  evidence can only be admitted if (1) the evidence is relevant to an issue in the

  litigation other than [a party’s] character; (2) the probative value is not substantially

  outweighed by its undue prejudice; and (3) the [proponent] party offers sufficient

  proof so that the jury could find that defendant committed the act).



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     D. Admission of Evidence Under Fed. R. Evid. 608(b)

           Federal Rule of Evidence 608(b) governs admissibility of evidence regarding a

  witness’s character for truthfulness or untruthfulness, as to specific instances of

  conduct, and provides in pertinent part: “extrinsic evidence is not admissible to

  prove specific instances of a witness's conduct in order to attack or support the

  witness’s character for truthfulness. But the court may, on cross-examination, allow

  them to be inquired into if they are probative of the character for truthfulness or

  untruthfulness of the witness... Fed. R. Ev. 608(b); Blake v. Batmasian, U.S. Dist.

  LEXIS 171720, at *18-20 (S.D. Fla. Sep. 2, 2016)(R. 108, Pg. ID. 4327).

           Thus, at the Court’s discretion, Rule 608(b) permits cross examination of the

  witness about prior instances of misconduct that reflect on the truthfulness of that

  witness, however, “the probative value of such evidence must still not be

  outweighed by the danger of unfair prejudice, confusion of the issues, or

  misleading the jury.” Battle v. O'Shaughnessy, 2012 U.S. Dist. LEXIS 143471 (N.D. Ill.

  Oct. 4, 2012), citing Hollins v. City of Milwaukee, 574 F.3d 822, 828-829 (7th Cir. 2009)

  R. 71-7; Martin v. United States, No. 02 CR 10024, 2007 U.S. Dist. LEXIS 22791 at *4

  (W.D. Mich. March 29, 2007) R. 71-8; United States v Stoecker, 215 F3d 788 (7th Cir.

  2000).

           However, even if the Court permits cross examination of a witness regarding

  prior instances of misconduct, F. R. E. 608(b) does not condone the use of extrinsic

  evidence during that cross examination. See Blake v Batmasian, 2017 U.S. Dist. LEXIS
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  26712 *4-5 (SD Fla, Feb. 15, 2017)(R. 71-9) wherein the court stated:

        Subsection (b) of that rule prohibits a party from introducing
        extrinsic evidence of prior specific instances of a witness’
        conduct in order to attack a witness’ character for truthfulness,
        but the court may allow instances of prior conduct be inquired into if
        they are probative of untruthfulness. Acts probative of untruthfulness
        under Rule 608(b) include forgery, perjury and fraud. Ad-Vantage
        Telephone Directory Consultants, Inc. v. GTE Directories Corp., 37 F.3d
        1460, 1464 (11th Cir. 1994). Crimes such as theft, robbery or
        shoplifting do not involve dishonesty or false statement under Rules
        608 or 609. United States v. Farmer, 923 F.2d 1557, 1567 (11th Cir.
        1991). When applying Rule 608(b), it is essential to remember
        that the questioner is bound to accept the witness’ answers as to
        the alleged conduct bearing on untruthfulness. 4 Jack B.
        Weinstein & Margaret A. Berger, Weinstein's Federal Evidence §
        608.22 (2d ed. 2011); U.S. v. Matthews, 168 F.3d 1234, 1244 (11th Cir.
        1999). Hence, the party challenging the veracity of the witness
        cannot later introduce extrinsic evidence to disprove any
        statement the witness makes in this respect.
        Moreover, F. R. E. 608(a) requires impeachment of a witness to be conducted

  through opinion or reputation testimony and as such, specific prior conduct is not

  permissible evidence pursuant to F. R. E. 608(b):

        If [the witnesses] testify in the government’s case-in-chief, however,
        defendant will be allowed to impeach their character for truthfulness.
        FRE 608(a) states that a “witness’s credibility may be attacked or
        supported by testimony about the witness’s reputation for having a
        character for truthfulness or untruthfulness, or by testimony in the
        form of an opinion about that character.” However, FRE 608(b) states
        that “extrinsic evidence is not admissible to prove specific
        instances of a witness’s conduct in order to attack or support the
        witness's character for truthfulness.” Thus, if [the witnesses
        testify], defendant will be allowed to attack their credibility with
        opinion testimony of their character for truthfulness. Defendant
        will not, however, be allowed to introduce evidence related to any
        specific acts that demonstrate their alleged character for
        dishonesty. [United States v Brugnara, 2015 U.S. Dist. LEXIS 57577 (ND

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          Cal, Apr. 23, 2015)(R.71-10)].

  See also McLeod v. Parsons Corp., 73 F. App'x 846, 854-55 (6th Cir. 2003).

     V.      EVIDENCE REGARDING MR. NONA’S FINRA DISCIPLINARY ACTION IS
             IRRELEVANT TO THE CLAIMS AND DEFENSES PRESENTED IN THIS CASE
             AND INADMISSIBLE UNDER THE GOVERNING COURT RULES

          In this case, evidence related to Mr. Nona’s FINRA matter is inadmissible

  pursuant to all of the Court Rules discussed above.

     A. Evidence Related to the FINRA Matter is Irrelevant Pursuant to F.R.E. 401

          Initially, pursuant to F.R.E. 401, evidence related to the FINRA action does

  not have any tendency to make any fact in this case more or less probable than it

  would be without the evidence. Moreover, Henkel KGaA has not (and cannot)

  identify with specificity exactly how evidence of Mr. Nona’s FINRA matter is of any

  consequence in determining the action.

          The closest Henkel KGaA has come to any sort of specificity regarding this

  evidence is to suggest (without evidentiary support) that had it known about Mr.

  Nona’s FINRA matter, this circumstance somehow would have precluded KCP from

  ever doing business Henkel Corporation or Henkel KGaA. However, even if arguendo

  that statement is true, it does not obviate Henkel KGaA’s own wrongful actions and

  does not supply any defense to Plaintiff’s claims.

          Evidence related to Mr. Nona’s FINRA matter is not relevant and has no

  bearing on Plaintiff’s claims against Defendant—i.e. Henkel KGaA’s own bad acts of

  tortiously interfering with KCP business expectancy with Henkel Corporation, breach

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  of the NDA and/or the pending amended claim, violation of Connecticut’s Unfair

  Trade Practices Act (“CUTPA”). Testimony regarding the FINRA disciplinary action

  will not elucidate whether Henkel KGaA has any valid defense against the claims

  made by KCP. Though Henkel KGaA may assert that inquiry into Mr. Nona’s

  FINRA disciplinary action supports some tortured causation defense, i.e. Henkel

  KGaA would not have pursued an agreement with KCP had it known about Mr.

  Nona’s FINRA issue—its own actions do not bear this out.

        Specifically, as Henkel KGaA knows, Henkel Corporation was always to be the

  face of this deal. In fact, Henkel KGaA, most specifically Cedric Berthod, insisted

  that KCP would have no role with the customers. Henkel Corporation and Henkel

  KGaA wanted to manage their customers using their representatives. Any personnel

  hired by KCP would have worked in the background, supporting the Project from a

  technical standpoint. Simply, KCP was the business broker, working behind the

  scenes—rendering Mr. Nona’s purported past sins irrelevant as to public impression.

        Perhaps even more compelling, is that neither Henkel KGaA nor Henkel

  Corporation thought it was important to conduct a background check into Mr.

  Nona’s personal history.4 At the time the Project was being negotiated, the issue of


  4
         While Henkel KGaA stated in its written discovery responses that it conducted
  a background check of Mr. Nona, it was unable to identify any specific actions
  performed in this regard except noting that KCP, through its principals were required
  to affirm Henkel’s Code of Conduct, and answer other questions regarding KCP.
  Thus, Henkel KGaA acknowledged no independent investigation was performed. See

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  Mr. Nona’s past, and specifically his FINRA disciplinary action was of no

  consequence to Henkel KGaA—and only became a focus in this lawsuit as a means

  for Henkel KGaA to intimidate Mr. Nona.

        Henkel KGaA cannot deny its own actions of intentionally cutting KCP out of

  the Project—initially to work directly with AIS and later to use the information it

  gleaned under the governing NDA to develop the Project internally on its own. These

  nefarious actions are well supported by Henkel KGaA’s and Henkel Corporation’s

  own documents. Instead, Henkel KGaA must resort to the “defense” of character


  generally, Defendant’s Responses to Plaintiff’s Third Interrogatories. R. 108 Pg. ID.
  4343.
  More recently, Henkel Corporation’s vice president and associate general counsel,
  John Preysner testified that he was unaware of any background check conducted by
  Henkel Corporation or Henkel KGaA of Mr. Nona, but knew that he did not
  personally conduct one, and no one at Henkel specifically asked him to conduct one:
        Q: …By the way, when you were negotiating with KCP, did Henkel ever
        conduct any kind of background check concerning the principals of
        KCP?
        MR. KHAWAJA: Objection to form, foundation.
        A. Did Henkel do background checks? I know I didn't. I don't know
        what all of Henkel did.
        Q. Well, did anybody ever tell you that they had looked into the
        background of, say, Mr. Nona?
        A. No one specifically did.
        Q. Are you aware, as you sit here today, what efforts, if any, were taken
        by Henkel to investigate the background the personal backgrounds of
        Mr. – the personal background of Mr. Nona?
        A. Of Mr. Nona?
        Q. Yes.
        A. I'm not -- I don't know.
  See June 6, 2018 Deposition Testimony of John Preysner at pp. 17, 128. (Exhibit 6).


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  assassination of KCP’s principals, hoping to embarrass them into abandoning this

  lawsuit. The Court should not condone such conduct and find that pursuant to

  F.R.E. 401, the evidence regarding Mr. Nona’s FINRA matter is irrelevant and

  inadmissible.

     B. Evidence Related to the FINRA Matter is Unfairly Prejudicial Pursuant
        to F.R.E. 403
        Even if the Court were to determine that evidence related to Mr. Nona’s

  FINRA action was relevant pursuant to F.R.E. 401, pursuant to F.R.E. 403, its

  probative value is substantially outweighed by the danger of unfair prejudice and a

  confusion of the issues—which may mislead the jury.

        The advisory comment to Fed. R. Evid. 403, defines “unfair prejudice” as a

  “tendency to suggest decision on an improper basis, commonly, though not

  necessarily, an emotional one.” The Sixth Circuit has stated that “[t]o be inadmissible

  under Rule 403 the [evidence] must be more than damaging on account of its

  probative force; it must encourage the jury to rely on improper considerations, such as

  emotion.” United States v. Stapleton, 2013 U.S. Dist. LEXIS 160442, at *28-29 (E.D. Ky.

  Nov. 8, 2013)(Exhibit 4) citing United States v. Johnson, 581 F.3d 320, 327 (6th Cir.

  2009); United States v. McCoy, 848 F.2d 743, 745 (6th Cir. 1988)(“unfair prejudice”

  defined as “an undue tendency to suggest decision on an improper basis, commonly,

  though not necessarily, an emotional one”).

        This is exactly the reason Henkel KGaA seeks to introduce evidence related to


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  Mr. Nona’s FINRA matter—to unfairly persuade the jury to determine this matter by

  employing improper considerations such as emotion and/or other bias. Specifically,

  the crux of Henkel KGaA’s motive behind introduction of evidence regarding the

  FINRA matter would be to wrongfully and unfairly suggest to the jury that because

  FINRA accused Mr. Nona of some form of dishonesty 6 years ago (allegations settled

  via the AWC) Mr. Nona somehow will be untruthful under oath at a trial on the

  merits of this case.

         The Court should not permit this unfairly prejudicial evidence—which has no

  probative value on the substantive facts and issues in this case—to be presented.

         Here, discussion at trial of the FINRA matter, which is based upon events that

  occurred 14 years ago, subject to a complaint that was filed 8 years ago, an AWC that

  was signed 6 years ago, and under circumstances where Mr. Nona has not been under

  any further disciplinary action will have the tendency to unfairly prejudice and confuse

  the jury as to the substantive issues in this matter.       It will certainly cause an

  unnecessary distraction at a trial of this matter—which should not be subjected to

  Henkel KGaA’s prejudicial and retaliatory sideshow.

         Under F.R.E. 403, the evidence’s probative value is substantially outweighed by

  the danger of unfair prejudice and confusion and should be excluded by the Court.

     C. Evidence Related to the FINRA Matter is Inadmissible Pursuant to
        F.R.E. 404
         Evidence regarding the FINRA matter does not go to “motive, opportunity,


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  intent, preparation, plan, knowledge, identity, absence of mistake, or lack of accident”

  as required to be admissible pursuant to F.R.E. 404(b). Furthermore, under a 404(b)

  challenge, the Court must consider: 1) whether there is sufficient evidence the prior

  act occurred; 2) whether there is a proper purpose for the evidence; and 3) whether

  the evidence is more prejudicial than probative. Edgerson, supra, at *4-7.   KCP does

  not dispute that Mr. Nona’s FINRA action occurred, although in the AWC he neither

  admitted nor denied the underlying allegations.      Here, however, for the reasons

  already discussed, no proper purpose for the evidence exists because it is irrelevant

  pursuant to F.R.E. 401 and admissibility of the evidence is highly prejudicial pursuant

  to F.R.E. 403.

     D. Extrinsic Evidence Related to the FINRA Matter is Inadmissible
        Pursuant to F.R.E. 608
        Henkel KGaA could conceivably attempt to use the AWC and the facts related

  to the alleged FINRA rules violation as a mechanism for impeaching Nona’s

  credibility as a witness at trial under FRE 608. Under this rule, while the Court has

  the discretion to permit the conduct to be inquired into on cross examination, it is

  contrary to the rule to permit Defendant to use extrinsic evidence, such as the AWC,

  to disprove any statement Mr. Nona may make in this respect. F. R. E. 608(b); Blake,

  supra; Brugnara, supra. Only opinion or reputation testimony on cross-examination—if

  probative of the character for truthfulness or untruthfulness of the witness may be

  used. Id.   As with F.R.E. 403, and F.R.E. 404: “the probative value of such


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  evidence must still not be outweighed by the danger of unfair prejudice,

  confusion of the issues, or misleading the jury.” Battle supra, R. 71-7; Martin supra,

  R. 71-8; Stoecker, supra 215 F3d 788. Here, as discussed herein, there is an intrinsic

  danger of unfair prejudice, confusion of the issues, and misleading the jury should the

  Court permit Henkel KGaA to introduce evidence related to the FINRA matter.

     VI.    CONCLUSION

        The details underlying Mr. Nona’s FINRA matter cannot and do not provide a

  foundation for any defense to Henkel KGaA’s own bad acts.             For the reasons

  discussed herein, Mr. Nona’s prior conduct is irrelevant as to any substantive claim or

  defense, is prejudicial, and therefore, inadmissible under F.R.E. 401, F.R.E. 403,

  F.R.E. 404(b) and F.R.E. 608. The only reason Henkel KGaA would possibly want

  to introduce such evidence is at best, to impeach and attack Mr. Nona’s credibility,

  and at worst to harass and embarrass Mr. Nona, causing KCP unfair prejudice and

  confusion to the jury. For all the foregoing reasons, the Court should grant KCP’s

  motion in limine and exclude evidence related to Mr. Nona’s FINRA matter.


                                                 Respectfully submitted,
                                                 KICKHAM HANLEY PLLC
                                                 /s/ Jamie Warrow
                                                 Jamie Warrow (P61521)
                                                 Attorneys for Knight Capital Partners
  Dated: August 28, 2018                         jwarrow@kickhamhanley.com




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                                CERTIFICATE OF SERVICE

             I hereby certify that on August 28, 2018, I electronically filed the foregoing
  document with the Clerk of the Court using the ECF system which will send
  notification of such filing to all ECF filing Participants.


                                                    /s/ Jamie Warrow
                                                    Jamie Warrow
  KH155898




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